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                                                                                             JOHN F. WARREN
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                                                                                9 PageID 17564 COUNTY CLERK
                                                                                              DALLAS COUNTY




                                      CAUSE NO. CC-19-03859-A
 DAVIDA MCDOUGAL,                              §       IN THE COUNTY COURT
                                               §
          Plaintiff,
                                               §
                                               §
 v.
                                               §       AT LAW NO.
                                               §
TRINITY FINANCIAL SERVICES                     §
LLC, AND THE BANK OF NEW YORK §
MELLON TRUST COMPANY,                          §
NATIONAL ASSOCIATION FKA                       §
THE BANK OF NEW YORK TRUST                     §
COMPANY, N.A. AS SUCCESOR TO                   §
JPMORGAN CHASE BANK N.A. AS                    §
TRUSTEE FOR RASC 2004—KSZ,                     §
                                               §
         Defendants.                           §       DALLAS COUNTY, TEXAS
      PLAINTIFF’S ORIGINAL PETITION. APPLICATION FOR INJUNCTIVE RELIEF.
                              AND REQUEST FOR DISCLOSURES
TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Davida McDougal (“Plaintiff’ herein), ﬁling this Original Petition,

Application for Injunctive Relief, and Request for Disclosures complaining 0f Trinity Financial


Services LLC (“Trinity”), and The Bank ofNew York Mellon Trust Company National
                                                                                        Association

FKA The Bank of New York Trust Company, N.A. as successor to JPMorgan Chase Bank N.A.,




                                           w
                 RASC 2004-KSZ (“Mellon") (collectively “Defendants” herein) and for causes of
as Trustee for


action would respectfully show the Court as follows:




         1.      Plaintiff intends to conduct discovery under Texas Rules of Civil Procedure 190.3


(Level 2).




                                                                                             Appendix 1
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                                             PARTIES

       2.      Plaintiff is an individual who resides in Dallas County, Texas and may be served

with process on the undersigned legal counsel.

       3.      Trinity Financial Services LLC is an entity formed under the laws of the State of
Wyoming which conducts business in Dallas County, Texas and may be served with process as
follows:
                       Trinity Financial Services, LLC
                       CIO its registered agent, Registered Agent Solutions, Inc.
                       1701 Directors Blvd Suite 300
                       Austin, Texas 78744
       4.      The Bank of New York Mellon Trust Company, N.A., As Trustee is an entity formed
under the laws of the State of Virginia which conducts business in Dallas County, Texas and may
be served with process as follows:
                       The Bank of New York Mellon Trust Company, N.A., As Trustee
                       C/O Corporate Officer
                       500 Grant Street
                       BNY Mellon Center Rm 772
                       Pittsburgh, PA 152 19-25 04

                                 JURISDICTION AND VENUE

       5.      The Court has jurisdiction over Defendants.         The Court has jurisdiction over

Defendant Mellon because this defendant is an entity formed under the laws of the State of Virginia

which conducts business in Dallas County, Texas. The Court has jurisdiction over Defendant

Trinity because this defendant is an entity formed under the laws of the State of               which

conducts business in Dallas County, Texas. The Court has jurisdiction over the controversy because

the damages are within the jurisdictional limits of the Court.

       6.      Venue is mandatory in Dallas County, Texas because the subject matter of the

lawsuit involves real property w hich is located in Dallas County, Texas. Further, all or a substantial

part of the events or omissions giving rise to Plaintiffs causes of action occurred in Dallas County,

Texas thus venue is proper under §15.002(a)( l) of the Texas Civil Practice and Remedies Code.




                                                  2


                                                                                               Appendix 2
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                                         RELEVANT FACTS

       7.     On or about November 13, 2003, Plaintiff and her husband, Kenneth McDougal

purchased the real property and improvements with the street address of 218 Hummingbird Lane,

Duncanville, Texas 75137 (the "Property"). Plaintiff and her husband took title to the Property

through a General Warranty Deed executed on November 13, 2003 which was then recorded in the

real property records of Dallas County, Texas under instrument number 2643148.

       8.     Plaintiff and her husband executed a Deed of Trust dated November 13, 2003 for

the amount of $128,700.00 wherein Sebring Capital Partners, Limited Partnership ("Sebring") was

the lender with Mortgage Electronic Registration Systems, Inc. ("MERS") as the beneficiary of the

Deed of Trust, which was then recorded in the real property records of Dallas County, Texas under

instrument number 2643149 ("First Lien").

       9.     Plaintiff and her husband also executed a Purchase Money Security Document

(Second Lien) dated November 13, 2003 for the amount of $ 14,300.00 with Sebring as the lender

and MERS as the beneficiary, which was then recorded in the real property records of Dallas

County, Texas under instrument number 2643 152 ("Second Lien").            The Second Lien and

accompanying documents are referred to as the Loan.

       10.    Plaintiff and her husband have resided at the Property as their homestead ever since.

       11 .   Upon information and belief, Mellon is now the beneficiary of the Loan and Trinity

is acting as the mortgage servicer of the Loan on behalf of Mellon. An Assignment of Purchase

Money Security Document dated November 5, 2012 was recorded in the real property records of

Dallas County, Texas under instrument number 20 1200333842 ("Assignment").

       12.    Upon information and belief, the Loan was declared in default and then accelerated

on or about March 2009 by Defendants are Defendants' predecessors in interest. The Property has




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been posted for foreclosure sale multiple times. However, Defendants have not completed a valid

foreclosure sale on the Property to date.

        13.       It has been more than 4 years since the Loan was accelerated and therefore,

Defendants are precluded from foreclosing on the Property as the Second Lien is now void as a

matter of law.

        14.      Defendants sent Plaintiff a notice that the payoff on the Second Lien was $33,155.51

good through July 6, 2019. Defendants have posted Plaintiff's Property for a foreclosure sale

scheduled to occur on July 2, 2019.

                                                     CLAIM

                                 AGENCY & RESPONDEAT SUPERIOR

        15.      Wherever it is alleged that Defendants did anything, or failed to do anything, it is

meant that such conduct was done by Defendants' employees, vice principals, agents, attorneys,

and/or affiliated entities, in the normal or routine scope of their authority, or ratified by Defendants,

or done with such apparent authority so as to cause Plaintiff to reasonably rely that such conduct

was within the scope of their authority. Plaintiff did rely to Plaintiff's detriment on Defendants'

representatives being vested with authority for their conduct. Defendants are vicariously liable for

the conduct of their employees, vice principals, agents, attorneys, affiliated entities, and

representatives of Defendants' affiliated entities by virtue of respondeat superior, apparent

authority, and estoppel doctrines.

                                      DECLARATORY JUDGMENT

        16.      To the extent not inconsistent herewith, Plaintiff incorporates by reference the

allegations made above.

        17.      Pursuant to Texas Civil Practice and Remedies Code Chapter 37, Plaintiff seeks a




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declaratory judgment that the Second Lien on the Property is void.

          18.   Pursuant to Texas Civil Practice and Remedies Code Chapter 16, because

Defendants failed to foreclose within four years of the date the Loan was accelerated, the Second

Lien and power of sale to enforce the lien are now void. See Tex. Civ. Prac. & Rem. Code Section

16.035.

                                      CONDITIONS PRECEDENT

          19.   All conditions precedent to the Plaintiffs right to bring this cause of action have

been performed, have occurred, or have been waived.

                                    REQUEST FOR DISCLOSURES

          20.   Defendants are hereby requested to disclose to Plaintiff, within 50 days of service

of this request, the information and material described in Rule 194 of the Texas Rules of Civil

Procedure.

                      APPLICATION FOR TEMPORARY RESTRAINING ORDER

          21.   To the extent not inconsistent herewith, Plaintiff incorporates by reference the

allegations made above.

          22.   Unless Defendants are enjoined, Plaintiff will suffer probable harm which is

imminent and irreparable. More specifically, if not enjoined, Defendants may sell the Property at

any time during the pendency of this matter thus depriving Plaintiff of ownership of the Property

and potentially causing Plaintiff to be dispossessed of the Property. Plaintiff has no adequate

remedy at law because the subject matter is real property, and any legal remedy of which Plaintiff

may avail himself will not give him as complete, equal, adequate, and final a remedy as the

injunctive relief sought in this Application.

          23.   Therefore, Plaintiff requests that this Court issue a Temporary Restraining Order




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and, thereafter, a Temporary Injunction, to restrain Defendant from selling the real property which

is the subject matter of this lawsuit and is commonly known as 218 Hummingbird Lane,

Duncanville, Texas 75137 as well as from taking any legal action to evict Plaintiff and any other

occupants from, or enforcing a writ of possession regarding, the aforementioned property.

       24.        Plaintiff is likely to prevail on the merits of the lawsuit as described above.

       25.        The granting of the reliefrequested is not inconsistent with public policy

considerations.

                                                  BOND

       26.        Plaintiff is willing to post a reasonable temporary restraining order bond and

requests that the Court set such bond.

                                                PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that:

       A.         Defendants be cited to appear and answer herein;

       B.      The Court conduct a hearing on Plaintiffs Application for Injunctive Relief;

       C.      A temporary restraining order be issued restraining Defendants, their agents,

               employees, and legal counsel, and those acting in concert or participation with

               Defendants who receive actual notice of the Order, by personal service or otherwise,

               from selling the real property which is the subject matter of this lawsuit and is

               commonly known as 2 18 Hummingbird Lane, Duncanville, Texas 75 137;

       D.      A Temporary Injunction be entered enjoining Defendants from the same acts listed

                  in Paragraph C above; and

       E.      Upon final hearing or trial hereof, the Court order a judgment in favor of Plaintiff




                                                     6


                                                                                                    Appendix 6
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          against Defendants declaring the Second Lien void, and such other and further relief

          to which Plaintiff may be entitled.

                                                Respectfully submitted,

                                                VILT AND ASSOCIATES , P.C.

                                                /s/ Jason A. LeBoeuf
                                                Robert C. VILT
                                                Texas Bar Number 00788586
                                                Email: clay@viltlaw.com
                                                5177 Richmond Avenue, Suite 1142
                                                Houston, Texas 77056
                                                Telephone:     713.840.7570
                                                Facsimile:     713.877.1827

                                                Jason A. LeBoeuf
                                                Texas Bar Number 24032662
                                                Email: jason@viltlaw.com
                                                Richardson Telecom
                                                2435 North Central Expressway, Suite 1200
                                                Richardson, Texas 75080
                                                Telephone:    2 14.712.7495
                                                Facsimile:    713.877.1827

                                                ATTORNEYS FOR PLAINTIFF




                                            7


                                                                                      Appendix 7
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                                                                       Exhibit 1-2
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      Bonial & Associates, P.C.
                                                USPS CERTIFIED MAIL
      14841 Dallas Parkway
      Suite 300
      Dallas TX 75254




                                              4207513731099214890194038380591121
                                             9214 8901 9403 8380 5911 21




      DAVIDA J MCDOUGAL
      218 HUMMINGBIRD LN
      DUNCANVILLE TX 75137-3109




Postage: $5.6000                                                                                 Exhibit 1-6
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                                                                                       Bonial & Associates, P.C.
                                                                                  14841 Dallas Parkway, Suite 425
                                                                                                Dallas, TX 75254
                                                                                           Main: (972) 643-6600
                                                                                             Fax: (972) 643-6699

   LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS
   LETTER MAKES US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE
   ADVISED THAT THIS IS AN ATTEMPT TO COLLECT A DEBT, AND ANY
   INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. HOWEVER, IF
   YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN BANKRUPTCY,
   THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT INTENDED
   AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS,
   OR RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

   DAVIDA J MCDOUGAL
   218 HUMMINGBIRD LANE
   DUNCANVILLE, TX 75137

                                                   March 26, 2019

   Re:               218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

                       NOTICE OF DEFAULT AND INTENTION TO ACCELERATE

            We represent SMA Finance, LLC, affiliated with Trinity Financial Services, LLC, whose address is
   2618 San Miguel Road, Suite 303, Newport Beach, CA 92660 which, if it is not the Current Mortgagee, is
   acting as the Mortgage Servicer and representing the Current Mortgagee pursuant to a Mortgage Servicing
   Agreement concerning the Note and Deed of Trust which are associated with the above referenced loan
   number.

            Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the
   terms of the Note and Deed of Trust and applicable law. As a prerequisite to exercising the contractual rights
   of the Note and Deed of Trust, and pursuant to the provisions of the Texas Property Code, Section 51.002, the
   following notices are provided to you:

   1. The loan is in default for failure to make the regular monthly payments required by the Note and Deed of
      Trust.
   2. The action required to cure the default is the payment of all sums presently due under the Note and Deed of
      Trust.
   3. If the default is not cured by such payment within thirty (30) days of the date of this notice, without further
      notice or demand, the maturity date of the Note will be accelerated and all sums secured by the Deed of
      Trust will be declared to be immediately due and payable. Thereafter, it is intended that the property be
      sold by a Substitute Trustee at a public foreclosure sale.
   4. After acceleration, a curing of the default and reinstatement of the loan will be permitted prior to the time
      of sale by paying the past due regular monthly payments and other sums due under the Note and Deed of
      Trust and by complying with all terms of reinstatement.


   Case ID:                                                                                            File: 9664-0004




                                                                                                                Exhibit 1-6
                                                                                                               Page 3 of 8    Appendix 36
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             According to the information provided to us by our client, as of April 20, 2019, the amount required
   to cure the default is/was $23,773.43. Because of additional installments that may have come or become due,
   and other charges that may vary from day to day, the amount required to cure the default on the day you
   choose to pay may vary from the amount referenced above and may be greater. If you intend to cure this
   default, we encourage you to contact us promptly and request a reinstatement quote. This will ensure that you
   are in possession of an accurate figure necessary to fully resolve the default and bring your account current and
   a specific timeframe in which to do so. For further information, write us at Bonial & Associates, P.C.,
   Foreclosure Department, 14841 Dallas Parkway, Suite 425, Dallas, TX 75254 or for faster service, please call
   us at (972) 643-6600.

            Persons who are obligated on the debt evidenced by this Note and Deed of Trust or who otherwise
   purchased and have an interest in the property secured by the Deed of Trust are hereby given notice of the
   foregoing together with the following additional matters:

   1. You have the right to bring a court action to assert the non-existence of a default or any other defense that
      may exist.
   2. Legal precedent is not clear as to whether the sending of this letter makes us a debt collector. To the extent
      it does, please be advised that this letter is an attempt to collect a debt and any information obtained will be
      used for that purpose.
   3. You are encouraged to send to us any information you have that suggests that the loan is not in default or
      that the amount of default is different from the amount indicated in this letter. Upon receipt of such
      information, we will be pleased to forward the information to the lender for review and further response.

           We hope that this matter may be amicably resolved in a manner that is satisfactory for all parties
   concerned.

              If you are represented by an attorney, please refer this letter to your attorney.

                Very truly yours,

                Bonial & Associates, P.C.


   ASSERT AND PROTECT YOUR RIGHTS AS A MEMBER OF THE ARMED FORCES
   OF THE UNITED STATES. IF YOU ARE OR YOUR SPOUSE IS SERVING ON ACTIVE
   MILITARY DUTY, INCLUDING ACTIVE MILITARY DUTY AS A MEMBER OF THE
   TEXAS NATIONAL GUARD OR THE NATIONAL GUARD OF ANOTHER STATE OR
   AS A MEMBER OF A RESERVE COMPONENT OF THE ARMED FORCES OF THE
   UNITED STATES, PLEASE SEND WRITTEN NOTICE OF THE ACTIVE DUTY
   MILITARY SERVICE TO THE SENDER OF THIS NOTICE IMMEDIATELY.




   Case ID:                                                                                             File: 9664-0004




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      Bonial & Associates, P.C.
                                                USPS CERTIFIED MAIL
      14841 Dallas Parkway
      Suite 300
      Dallas TX 75254




                                              4207513731099214890194038380590889
                                             9214 8901 9403 8380 5908 89




      KENNETH MCDOUGAL
      218 HUMMINGBIRD LN
      DUNCANVILLE TX 75137-3109




Postage: $5.6000                                                                                 Exhibit 1-6
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                                                                                       Bonial & Associates, P.C.
                                                                                  14841 Dallas Parkway, Suite 425
                                                                                                Dallas, TX 75254
                                                                                           Main: (972) 643-6600
                                                                                             Fax: (972) 643-6699

   LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS
   LETTER MAKES US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE
   ADVISED THAT THIS IS AN ATTEMPT TO COLLECT A DEBT, AND ANY
   INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE. HOWEVER, IF
   YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN BANKRUPTCY,
   THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT INTENDED
   AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS,
   OR RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

   KENNETH MCDOUGAL
   218 HUMMINGBIRD LANE
   DUNCANVILLE, TX 75137

                                                   March 26, 2019

   Re:               218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

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   2618 San Miguel Road, Suite 303, Newport Beach, CA 92660 which, if it is not the Current Mortgagee, is
   acting as the Mortgage Servicer and representing the Current Mortgagee pursuant to a Mortgage Servicing
   Agreement concerning the Note and Deed of Trust which are associated with the above referenced loan
   number.

            Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the
   terms of the Note and Deed of Trust and applicable law. As a prerequisite to exercising the contractual rights
   of the Note and Deed of Trust, and pursuant to the provisions of the Texas Property Code, Section 51.002, the
   following notices are provided to you:

   1. The loan is in default for failure to make the regular monthly payments required by the Note and Deed of
      Trust.
   2. The action required to cure the default is the payment of all sums presently due under the Note and Deed of
      Trust.
   3. If the default is not cured by such payment within thirty (30) days of the date of this notice, without further
      notice or demand, the maturity date of the Note will be accelerated and all sums secured by the Deed of
      Trust will be declared to be immediately due and payable. Thereafter, it is intended that the property be
      sold by a Substitute Trustee at a public foreclosure sale.
   4. After acceleration, a curing of the default and reinstatement of the loan will be permitted prior to the time
      of sale by paying the past due regular monthly payments and other sums due under the Note and Deed of
      Trust and by complying with all terms of reinstatement.


   Case ID:                                                                                            File: 9664-0004




                                                                                                                Exhibit 1-6
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             According to the information provided to us by our client, as of April 20, 2019, the amount required
   to cure the default is/was $23,773.43. Because of additional installments that may have come or become due,
   and other charges that may vary from day to day, the amount required to cure the default on the day you
   choose to pay may vary from the amount referenced above and may be greater. If you intend to cure this
   default, we encourage you to contact us promptly and request a reinstatement quote. This will ensure that you
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   a specific timeframe in which to do so. For further information, write us at Bonial & Associates, P.C.,
   Foreclosure Department, 14841 Dallas Parkway, Suite 425, Dallas, TX 75254 or for faster service, please call
   us at (972) 643-6600.

            Persons who are obligated on the debt evidenced by this Note and Deed of Trust or who otherwise
   purchased and have an interest in the property secured by the Deed of Trust are hereby given notice of the
   foregoing together with the following additional matters:

   1. You have the right to bring a court action to assert the non-existence of a default or any other defense that
      may exist.
   2. Legal precedent is not clear as to whether the sending of this letter makes us a debt collector. To the extent
      it does, please be advised that this letter is an attempt to collect a debt and any information obtained will be
      used for that purpose.
   3. You are encouraged to send to us any information you have that suggests that the loan is not in default or
      that the amount of default is different from the amount indicated in this letter. Upon receipt of such
      information, we will be pleased to forward the information to the lender for review and further response.

           We hope that this matter may be amicably resolved in a manner that is satisfactory for all parties
   concerned.

              If you are represented by an attorney, please refer this letter to your attorney.

                Very truly yours,

                Bonial & Associates, P.C.


   ASSERT AND PROTECT YOUR RIGHTS AS A MEMBER OF THE ARMED FORCES
   OF THE UNITED STATES. IF YOU ARE OR YOUR SPOUSE IS SERVING ON ACTIVE
   MILITARY DUTY, INCLUDING ACTIVE MILITARY DUTY AS A MEMBER OF THE
   TEXAS NATIONAL GUARD OR THE NATIONAL GUARD OF ANOTHER STATE OR
   AS A MEMBER OF A RESERVE COMPONENT OF THE ARMED FORCES OF THE
   UNITED STATES, PLEASE SEND WRITTEN NOTICE OF THE ACTIVE DUTY
   MILITARY SERVICE TO THE SENDER OF THIS NOTICE IMMEDIATELY.




   Case ID:                                                                                             File: 9664-0004




                                                                                                                 Exhibit 1-6
                                                                                                                Page 8 of 8    Appendix 41
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 42 of 106 PageID 605




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

DAVIDA J MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                         Page 1 of 33    Appendix 42
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door43
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       606
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                        Page 2 of 33    Appendix 43
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 44 of 106 PageID 607
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
            Grantor(s): KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
   Original Mortgagee:  MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                           Page 3 of 33    Appendix 44
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   45 of warranties
                                                                                  the Grantor's 106 PageID       608
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
                                                                                                            Page 4 of 33    Appendix 45
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 46 of 106 PageID 609




TXNOS                              Pg. 1




                                                                        Exhibit 1-7
                                                                      Page 5 of 33    Appendix 46
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 47 of 106 PageID 610




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

KENNETH MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                         Page 6 of 33    Appendix 47
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door48
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       611
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                        Page 7 of 33    Appendix 48
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 49 of 106 PageID 612
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
            Grantor(s): KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
   Original Mortgagee:  MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                           Page 8 of 33    Appendix 49
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   50 of warranties
                                                                                  the Grantor's 106 PageID       613
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
                                                                                                            Page 9 of 33    Appendix 50
           Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 51 of 106 PageID 614
   Bonial & Associates, P.C.
   14841 Dallas Parkway
   Suite 300
   Dallas TX 75254




   DAVIDA J MCDOUGAL
   218 HUMMINGBIRD LANE
   DUNCANVILLE TX 75137




Postage
Certified Mail Tracking Number: 92148901940383000083980472
MailingID: 7303
CaseNumber:
MailingType: Both
Address:
DAVIDA J MCDOUGAL


218 HUMMINGBIRD LANE

                                                                         Both
DUNCANVILLE TX 75137
Image   380059.pdf
Image2:
Image3:                                                                            Exhibit 1-7
Image4:                                                                         Page 10 of 33    Appendix 51
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 52 of 106 PageID 615




TXNOS                              Pg. 1




                                                                        Exhibit 1-7
                                                                     Page 11 of 33    Appendix 52
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 53 of 106 PageID 616




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

DAVIDA J MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                        Page 12 of 33    Appendix 53
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door54
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       617
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                       Page 13 of 33    Appendix 54
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 55 of 106 PageID 618
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
           Grantor(s):  KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
  Original Mortgagee:   MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                          Page 14 of 33    Appendix 55
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   56 of warranties
                                                                                  the Grantor's 106 PageID       619
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
                                                                                                           Page 15 of 33    Appendix 56
                          14841
               14841 Dallas      Dallas Parkway
                            Parkway
               Suite 300 Suite 300
                          Dallas TX 75254
               Dallas TX 75254
            Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 57 of 106 PageID 620
               Bonial & Associates,
    Bonial & Associates, P.C.       P.C.
               14841
    14841 Dallas      Dallas Parkway
                 Parkway
    Suite 300 Suite 300
               Dallas TX 75254
    Dallas TX 75254




               DAVIDA JDAVIDA J MCDOUGAL
                        MCDOUGAL
                       218 HUMMINGBIRD
               218 HUMMINGBIRD   LANE   LANE
                       DUNCANVILLE
               DUNCANVILLE  TX 75137TX 75137


    DAVIDA JDAVIDA J MCDOUGAL
             MCDOUGAL
            218 HUMMINGBIRD
    218 HUMMINGBIRD   LANE   LANE
            DUNCANVILLE
    DUNCANVILLE  TX 75137TX 75137




         PostagePostage
         CertifiedCertified Mail Tracking
                   Mail Tracking  Number:Number: 92148901940383000083980472
                                          92148901940383000083980472
                  MailingID:
         MailingID:  7303 7303
                  CaseNumber:
         CaseNumber:
PostagePostage    MailingType:
         MailingType:   Both Both
         Certified
CertifiedAddress:  Mail
          Mail Tracking  Tracking
                  Address:Number:Number:  92148901940383000083980472
                                   92148901940383000083980472
            7303 DAVIDA
         DAVIDA
         MailingID:
MailingID:         J 7303   J MCDOUGAL
                     MCDOUGAL
         CaseNumber:
CaseNumber:
         MailingType:
MailingType:   Both Both
Address:218       218 HUMMINGBIRD
              HUMMINGBIRD
         Address:               LANE LANE
DAVIDADAVIDA       J MCDOUGAL
          J MCDOUGAL
                                                                                 Both       Both
              DUNCANVILLE
       DUNCANVILLE           TX 75137
                      TX 75137
       Image1:Image1:
218 HUMMINGBIRD       13380059.pdf
               13380059.pdf
       218 HUMMINGBIRD
                   LANE LANE
       Image2:Image2:
       Image3:Image3:                                                     Both   Both
       Image4:
DUNCANVILLE   Image4:
       DUNCANVILLE    TX 75137
               TX 75137
Image     ge1: 13380059.pdf
          380059.pdf
Image2:Image2:
Image3:Image3:                                                                      Exhibit 1-7
Image4:Image4:                                                                   Page 16 of 33     Appendix 57
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 58 of 106 PageID 621




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

DAVIDA J MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                        Page 18 of 33    Appendix 59
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 59 of 106 PageID 622




TXNOS                              Pg. 1




                                                                        Exhibit 1-7
                                                                     Page 17 of 33    Appendix 58
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door60
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       623
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                       Page 19 of 33    Appendix 60
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 61 of 106 PageID 624
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
           Grantor(s):  KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
  Original Mortgagee:   MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                          Page 20 of 33    Appendix 61
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   62 of warranties
                                                                                  the Grantor's 106 PageID       625
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
                                                                                                           Page 21 of 33    Appendix 62
           Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 63 of 106 PageID 626
   Bonial & Associates, P.C.
   14841 Dallas Parkway
   Suite 300
   Dallas TX 75254




   KENNETH MCDOUGAL
   218 HUMMINGBIRD LANE
   DUNCANVILLE TX 75137




Postage
Certified Mail Tracking Number: 92148901940383000083980489
MailingID: 7304
CaseNumber:
MailingType: Both
Address:
KENNETH MCDOUGAL


218 HUMMINGBIRD LANE

                                                                         Both
DUNCANVILLE TX 75137
Image   380060.pdf
Image2:
Image3:                                                                            Exhibit 1-7
Image4:                                                                         Page 22 of 33    Appendix 63
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 64 of 106 PageID 627




TXNOS                              Pg. 1




                                                                        Exhibit 1-7
                                                                     Page 23 of 33    Appendix 64
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 65 of 106 PageID 628




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

KENNETH MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                        Page 24 of 33    Appendix 65
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door66
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       629
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                       Page 25 of 33    Appendix 66
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 67 of 106 PageID 630
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
           Grantor(s):  KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
  Original Mortgagee:   MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                          Page 26 of 33    Appendix 67
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   68 of warranties
                                                                                  the Grantor's 106 PageID       631
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
                                                                                                           Page 27 of 33    Appendix 68
                          14841
               14841 Dallas      Dallas Parkway
                            Parkway
               Suite 300 Suite 300
                          Dallas TX 75254
               Dallas TX 75254
            Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 69 of 106 PageID 632
               Bonial & Associates,
    Bonial & Associates, P.C.       P.C.
               14841
    14841 Dallas      Dallas Parkway
                 Parkway
    Suite 300 Suite 300
               Dallas TX 75254
    Dallas TX 75254




               KENNETHKENNETH
                       MCDOUGALMCDOUGAL
                      218 HUMMINGBIRD
               218 HUMMINGBIRD LANE    LANE
                      DUNCANVILLE
               DUNCANVILLE TX 75137TX 75137


    KENNETHKENNETH
            MCDOUGALMCDOUGAL
           218 HUMMINGBIRD
    218 HUMMINGBIRD LANE    LANE
           DUNCANVILLE
    DUNCANVILLE TX 75137TX 75137




         PostagePostage
         CertifiedCertified Mail Tracking
                   Mail Tracking  Number:Number: 92148901940383000083980489
                                          92148901940383000083980489
                  MailingID:
         MailingID: 7304 7304
                  CaseNumber:
         CaseNumber:
PostagePostage    MailingType:
         MailingType:   Both Both
         Certified
CertifiedAddress:  Mail
          Mail Tracking  Tracking
                  Address:Number:Number:  92148901940383000083980489
                                   92148901940383000083980489
           7304 KENNETH
         KENNETH
         MailingID:
MailingID:           MCDOUGAL
                    7304      MCDOUGAL
         CaseNumber:
CaseNumber:
         MailingType:
MailingType:   Both Both
Address:218       218 HUMMINGBIRD
              HUMMINGBIRD
         Address:               LANE LANE
KENNETH  KENNETH
            MCDOUGAL MCDOUGAL
                                                                                 Both       Both
              DUNCANVILLE
       DUNCANVILLE           TX 75137
                      TX 75137
       Image1:Image1:
218 HUMMINGBIRD       13380060.pdf
               13380060.pdf
       218 HUMMINGBIRD
                   LANE LANE
       Image2:Image2:
       Image3:Image3:                                                     Both   Both
       Image4:
DUNCANVILLE   Image4:
       DUNCANVILLE    TX 75137
               TX 75137
Image     ge1: 13380060.pdf
          380060.pdf
Image2:Image2:
Image3:Image3:                                                                      Exhibit 1-7
Image4:Image4:                                                                   Page 28 of 33     Appendix 69
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 70 of 106 PageID 633




TXNOS                              Pg. 1




                                                                        Exhibit 1-7
                                                                     Page 29 of 33    Appendix 70
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                             Page 71 of 106 PageID 634




                                                                                        Bonial & Associates, P.C.
                                                                                   14841 Dallas Parkway, Suite 425
                                                                                                 Dallas, TX 75254
                                                                                            Main: (972) 643-6600
                                                                                              Fax: (972) 643-6699

LEGAL PRECEDENT IS NOT CLEAR AS TO WHETHER THE SENDING OF THIS LETTER MAKES
US A DEBT COLLECTOR. TO THE EXTENT IT DOES, PLEASE BE ADVISED THAT THIS IS AN
ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. HOWEVER, IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY,    THIS LETTER IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT
INTENDED AS AN ATTEMPT TO COLLECT A DEBT OR AS AN ACT TO COLLECT, ASSESS, OR
RECOVER ALL OR ANY PORTION OF THE DEBT FROM YOU PERSONALLY.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your
spouse is serving on active military duty, including active military duty as a member of the Texas National
Guard or the National Guard of another state or as a member of a reserve component of the armed forces of
the United States, please send written notice of the active duty military service to the sender of this notice
immediately.

Via certified mail return receipt requested and first class mail

KENNETH MCDOUGAL
218 HUMMINGBIRD LANE
DUNCANVILLE, TX 75137

                                     May 30, 2019
Re:
Last Four Digits of the Loan No:
Property: 218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

         We represent Trinity Financial Services, LLC, whose address is 2618 San Miguel Road, Suite 303, Newport
Beach, CA 92660 which, if it is not the Current Mortgagee, is acting as the Mortgage Servicer and representing the
Current Mortgagee pursuant to a Mortgage Servicing Agreement concerning the Note and Deed of Trust which are
associated with the above referenced loan number.

         Our firm has been requested to pursue non-judicial foreclosure processing in accordance with the terms of
the Note and Deed of Trust and applicable law. Consistent therewith, the following notices are provided to you:

   1. The maturity date of the Note has been accelerated, all sums secured by the Deed of Trust have been declared
      to be immediately due and payable and an enforcement of the Power of Sale Clause in the Deed of Trust
      which provides for the sale of the above-referenced property at a public foreclosure sale in the time and
      manner permitted by law has been requested.
   2. Pursuant to that request, the property has been scheduled for foreclosure sale on Tuesday, the 2nd day of July,
      2019 between the hours of 10:00A.M. and 4:00P.M. At AT THE AREA OUTSIDE ON THE NORTH SIDE
      OF THE GEORGE ALLEN COURTS BUILDING FACING COMMERCE STREET BELOW THE
      OVERHANG of Dallas County Texas. If the preceding area is no longer the designated area, the place of
      sale will be at the area most recently designated by the Dallas County Commissioner's Court. This sale shall
      commence at 10:00 AM or within three hours thereafter. The property will be sold to the highest bidder for
      cash.



TXNOS                                                   Pg. 2




                                                                                                           Exhibit 1-7
                                                                                                        Page 30 of 33    Appendix 71
         Attached for your further review is a copy of the Notice of Acceleration and Notice of Trustee's Sale which
Case   3:19-cv-02256-E-BK
has been                             Document
         or will be filed with the Dallas          62 andFiled
                                          County Clerk    posted10/04/22       Page
                                                                 at the courthouse door72
                                                                                        or of 106
                                                                                           other      PageID
                                                                                                 location       635
                                                                                                          designated
by the County Commissioners.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                Pg. 3




                                                                                                          Exhibit 1-7
                                                                                                       Page 31 of 33    Appendix 72
                    NOTICE OF ACCELERATION AND NOTICE OF TRUSTEE'S SALE
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                              Page 73 of 106 PageID 636
DEED OF TRUST INFORMATION:
                 Date:  11/13/2003
           Grantor(s):  KENNETH MCDOUGAL AND SPOUSE, DAVIDA J. MCDOUGAL
  Original Mortgagee:   MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., SOLELY AS
                        NOMINEE FOR SEBRING CAPITAL PARTNERS, LIMITED PARTNERSHIP,
                        ITS SUCCESSORS AND ASSIGNS
    Original Principal: $14,300.00
Recording Information:   Book 2003230 Page 03419 Instrument 2643152
     Property County:   Dallas
             Property:  LOT 22, BLOCK 7, OF FOURTH SECTION SWAN RIDGE ESTATES, AN
                        ADDITION TO THE CITY OF DUNCANVILLE, DALLAS COUNTY,TEXAS,
                        ACCORDING TO THE MAP THEREOF RECORDED IN VOLUME 78016, PAGE
                        57, OF THE MAP RECORDS OF DALLAS COUNTY, TEXAS
    Reported Address:   218 HUMMINGBIRD LANE, DUNCANVILLE, TX 75137

MORTGAGE SERVICING INFORMATION:
       The Mortgage Servicer, if not the Current Mortgagee, is representing the Current Mortgagee pursuant to a
Mortgage Servicing Agreement.
   Current Mortgagee:       Trinity Financial Services LLC
    Mortgage Servicer:      Trinity Financial Services, LLC
  Current Beneficiary:      Trinity Financial Services LLC
Mortgage Servicer Address: 2618 San Miguel Road, Suite 303, Newport Beach, CA 92660

SALE INFORMATION:
         Date of Sale:       Tuesday, the 2nd day of July, 2019
        Time of Sale:        10:00 AM or within three hours thereafter.
        Place of Sale:       AT THE AREA OUTSIDE ON THE NORTH SIDE OF THE GEORGE ALLEN
                             COURTS BUILDING FACING COMMERCE STREET BELOW THE
                             OVERHANG in Dallas County, Texas, or, if the preceding area is no longer the
                             designated area, at the area most recently designated by the Dallas County
                             Commissioner's Court.
   Substitute Trustee(s):    Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns,
                             Sammy Hooda, or Suzanne Suarez, any to act
 Substitute Trustee Address: 14841 Dallas Parkway, Suite 425, Dallas, TX 75254

         WHEREAS, the above-named Grantor previously conveyed the above described property in trust to secure
payment of the Note set forth in the above-described Deed of Trust; and
         WHEREAS, a default under the Note and Deed of Trust was declared; such default was reported to not
have been cured; and all sums secured by such Deed of Trust were declared to be immediately due and payable; and
         WHEREAS, the original Trustee and any previously appointed Substitute Trustee has been removed and
Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
Suarez, any to act, have been appointed as Substitute Trustees and requested to sell the Property to satisfy the
indebtedness; and
         WHEREAS, the undersigned law firm has been requested to provide these notices on behalf of the Current
Mortgagee, Mortgage Servicer and Substitute Trustees;
         NOW, THEREFORE, NOTICE IS HEREBY GIVEN of the foregoing matters and that:
1. The maturity of the Note has been accelerated and all sums secured by the Deed of Trust have been declared to
   be immediately due and payable.
2. Shelley Ortolani, Michele Hreha, Mary Mancuso, Francesca Ortolani, Michael Burns, Sammy Hooda, or Suzanne
   Suarez, any to act, as Substitute Trustee will sell the Property to the highest bidder for cash on the date, at the
   place, and no earlier than the time set forth above in the Sale Information section of this notice. The sale will
   begin within three hours after that time.
3. This sale shall be subject to any legal impediments to the sale of the Property and to any exceptions referenced in
   the Deed of Trust or appearing of record to the extent the same are still in effect and shall not cover any property
   that has been released from the lien of the Deed of Trust.




TXNOS                                                 Pg. 4




                                                                                                             Exhibit 1-7
                                                                                                          Page 32 of 33    Appendix 73
4. No warranties, express or implied, including but not limited to the implied warranties of merchantability and
Case  3:19-cv-02256-E-BK
  fitness                            Document
          for a particular purpose shall           62at the
                                         be conveyed     Filed
                                                            sale, 10/04/22
                                                                  save and exceptPage   74 of warranties
                                                                                  the Grantor's 106 PageID       637
                                                                                                         specifically
    authorized by the Grantor in the Deed of Trust. The property shall be offered "AS-IS", purchasers will buy the
    property "at the purchaser's own risk" and "at his peril", and no representation is made concerning the quality or
    nature of title to be acquired. Purchasers will receive whatever interest Grantor and Grantor's assigns have in the
    property, subject to any liens or interests of any kind that may survive the sale. Interested persons are encouraged
    to consult counsel of their choice prior to participating in the sale of the property.

Very truly yours,

Bonial & Associates, P.C.




TXNOS                                                  Pg. 5




                                                                                                              Exhibit 1-7
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
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                                                                         Exhibit 2
                                                                     Page 10 of 18   Appendix 84
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                                                                         Exhibit 2
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                                                                         Exhibit 2
                                                                     Page 12 of 18   Appendix 86
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                                                                         Exhibit 2
                                                                     Page 13 of 18   Appendix 87
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                                                                         Exhibit 2
                                                                     Page 14 of 18   Appendix 88
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                                                                         Exhibit 2
                                                                     Page 15 of 18   Appendix 89
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                                                                         Exhibit 2
                                                                     Page 16 of 18   Appendix 90
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                                                                         Exhibit 2
                                                                     Page 17 of 18   Appendix 91
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                                                                         Exhibit 2
                                                                     Page 18 of 18   Appendix 92
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22   Page 93 of 106 PageID 656




                                                                        Exhibit 3
                                                                      Page 1 of 3   Appendix 93
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                                                                        Exhibit 3
                                                                      Page 2 of 3   Appendix 94
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                                                                        Exhibit 3
                                                                      Page 3 of 3   Appendix 95
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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DAVIDA MCDOUGAL              §
                             §
                             §
     Plaintiff,              §
                             §
v.                           §                                CIVIL NO. 3:19-CV-02256-E
                             §
TRINITY FINANCIAL SERVICES, §
LLC and THE BANK OF NEW YORK §
MELLON       TRUST  COMPANY, §
NATIONAL ASSOCIATION FKA §
THE BANK OF NEW YORK TRUST §
COMPANY, N.A. AS SUCCESSOR §
TO JPMORGAN CHASE BANK N.A. §
AS TRUSTEE FOR RASC2004-KS2  §
                             §
     Defendants.             §


                      DECLARATION OF BRANDON HAKARI


   1. My name is Brandon Hakari. I am of sound mind and capable of making this

unsworn declaration. I am over the age of twenty-one (21) years and have never

been convicted of a felony or crime involving dishonesty. I am fully competent to

testify to the matters herein. I have personal knowledge of the facts stated herein,

which are true and correct.

   2. I am an employee of McCarthy & Holthus, LLP (“McCarthy”). I currently

hold the position of Senior Litigation Attorney with McCarthy, and am an attorney

for Trinity Financial Services, LLC in this litigation. I have personal knowledge of

the facts stated in this Declaration from my participation in this litigation and my

review of my firm’s file on this matter, and they are true and correct.
Civil No. 3:19-cv-02256-E; McDougal V. Trinity Financial Services, LLC       TX-20-78267-DL
Declaration                                                                       Page 1 of 2

                                                                                       Exhibit 4
                                                                                     Page 1 of 2   Appendix 96
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   3. On May 1, 2020, Max M. Murphy, prior counsel for Trinity Financial

Services, LLC, served Plaintiff’s counsel with Defendants’ First Request for

Admissions to Plaintiff. A true and correct copy of Defendants’ First Request for

Admissions to Plaintiff is attached hereto and incorporated herein as Exhibit 4-1.

   4. The deadline for Plaintiff to respond to Defendants’ First Request for

Admissions to Plaintiff had been extended by agreement between myself and

Plaintiff’s Counsel through February 2, 2021.                 As of the execution of this

declaration, I have not received a response from Plaintiff to Defendants’ First

Request for Admissions to Plaintiff or a request for further extension of time to

respond.

       Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that

the foregoing is true and correct.

       Dated the 23rd day of February, 2021.




                                             Name: Brandon Hakari




Civil No. 3:19-cv-02256-E; McDougal V. Trinity Financial Services, LLC       TX-20-78267-DL
Declaration                                                                       Page 2 of 2

                                                                                       Exhibit 4
                                                                                     Page 2 of 2   Appendix 97
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 DAVIDA MCDOUGAL

      Plaintiff
                                                         CASE NO.: 3:19-cv-02256-E
 v.

 TRINITY FINANCIAL SERVICES, LLC
 and THE BANK OF NEW YORK MELLON
 TRUST COMPANY, NATIONAL
 ASSOCIATION FKA THE BANK OF NEW
 YORK TRUST COMPANY, N.A. AS
 SUCCESSOR TO JPMORGAN CHASE
 BANK N.A. AS TRUSTEE FOR RASC2004-
 KS2

      Defendants


         DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF

TO:    Plaintiff Davida McDougal, by and through her counsel of record, Jason A. LeBoeuf,
       Robert C. Vilt, Vilt and Associates, P.C., 2435 North Central Expressway, Suite 1200,
       Richardson, TX 75080.

       Pursuant to Federal Rule of Civil Procedure 36, Defendants Trinity Financial Services,

LLC and The Bank of New York Mellon Trust Company, National Association FKA The Bank of

New York Trust Company, N.A. as Successor to JPMorgan Chase Bank N.A. as Trustee for

RASC2004-KS2 (collectively referred to as “Defendants”) serve this First Request for Admissions

to Plaintiff Davida McDougal (“Plaintiff”). Pursuant to the Federal Rules of Civil Procedure, you

are hereby directed to serve a written response to the admission requests thirty (30) days after

service of these requests, unless the request is objected to, in which event the reasons for the

objection shall be stated. If objection is made to part of an item or category, that part shall be



DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                        PAGE 1
                                                                                          Exhibit 4-1
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specified. Please provide your written response to the offices of ANGEL L. REYES & ASSOCIATES,

P.C., 8222 Douglas Avenue, Suite 400, Dallas, Texas 75225 or at such other location as the parties

shall mutually agree in writing, within thirty (30) days after service hereof.

                                                Respectfully submitted,


Dated: May 1, 2020                         By: __/s/ Max M. Murphy______________________
                                               Ryan J Browne
                                               Texas Bar No. 00796262
                                               Max M. Murphy
                                               Texas Bar No. 24098159
                                               ANGEL L. REYES & ASSOCIATES, P.C.
                                               8222 Douglas Avenue, Suite 400
                                               Dallas, Texas 75225
                                               Phone: (214) 526-7900
                                               Fax: (214) 526-7910
                                               ryan@reyeslaw.com
                                               max@reyeslaw.com
                                               ATTORNEYS FOR DEFENDANTS TRINITY
                                               FINANCIAL SERVICES, LLC AND THE
                                               BANK OF NEW YORK MELLON TRUST
                                               COMPANY, NATIONAL ASSOCIATION
                                               FKA THE BANK OF NEW YORK TRUST
                                               COMPANY, N.A. AS SUCCESSOR TO
                                               JPMORGAN CHASE BANK N.A. AS
                                               TRUSTEE FOR RASC2004-KS2


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rules. As such, the foregoing was served on all counsel of record who have
consented to electronic service on May 1, 2020.

                                                      _/s/ Max M. Murphy___________
                                                      Max M. Murphy




DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                        PAGE 2
                                                                                          Exhibit 4-1
                                                                                         Page 2 of 9    Appendix 99
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                 Page 100 of 106 PageID 663



                                  TERMS AND DEFINITIONS

      “Plaintiff,” “you,” “your,” and/or “Borrower” shall refer to Plaintiff Davida McDougal as

 well as anyone acting on their behalf, including, but not limited to, Davida McDougal’s successors,

 assigns, agents representatives, and attorneys.

      “Defendants” shall refer to Trinity Financial Services, LLC and The Bank of New York

 Mellon Trust Company, National Association FKA The Bank of New York Trust Company, N.A.

 as Successor to JPMorgan Chase Bank N.A. as Trustee for RASC2004-KS2.

      “"Petition,” “Complaint” or “pleading” shall refer to Plaintiff’s Original Petition,

 Application for Injunctive Relief, and Request for Disclosures filed in State Court Cause No. CC-

 19-03859-A on or about July 1, 2019 and all prior Petitions, supplements and/or amendments made

 during this cause.

      “Property” shall refer to the property located at 218 Hummingbird Lane, Duncanville,

 Texas 75137.

      “Note” refers to the Purchase Money Note signed by Kenneth McDougal and Davida J.

 McDougal on or about November 13, 2003 in the original principal amount of $14,300.00.

      “Deed of Trust” refers to the Purchase Money Security Document signed by Kenneth

 McDougal and Davida J. McDougal on or about November 13, 2003 and recorded in the Real

 Property Records of Dallas County, Texas as County Clerk No. 2643152.

      “Loan” refers to the Note and Deed of Trust collectively.




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                         PAGE 3
                                                                                            Exhibit 4-1
                                                                                           Page 3 of 9 Appendix 100
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22                  Page 101 of 106 PageID 664



                                 REQUESTS FOR ADMISSION

 REQUEST FOR ADMISSION NO. 1: Please admit the document attached hereto as Exhibit A
 is a true, correct and complete copy of the Note you executed for the Property made the subject of
 this lawsuit.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 2: Please admit the document attached hereto as Exhibit B
 is a true, correct and complete copy of the Deed of Trust for the Property made the basis of this
 lawsuit.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 3: Please admit that at the time of the filing of this lawsuit,
 the Loan was in default.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 4: Please admit that, at all times during the non-judicial
 foreclosure process, the Loan was in default as a result of your failure to make all of the payments
 then due and owing.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 5: Please admit all of the payments tendered by you on the
 Loan were applied in accordance with the terms of the Loan.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 6: Please admit you did not receive any notice of
 acceleration of the Loan’s maturity between January 2009 through January 2019.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 7: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 March 1, 2009 and March 1, 2019.

        RESPONSE:



 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                          PAGE 4
                                                                                             Exhibit 4-1
                                                                                            Page 4 of 9 Appendix 101
Case 3:19-cv-02256-E-BK Document 62 Filed 10/04/22         Page 102 of 106 PageID 665



 REQUEST FOR ADMISSION NO. 8: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2010 and December 31, 2010.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 9: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2011 and December 31, 2011.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 10: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2012 and December 31, 2012.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 11: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2013 and December 31, 2013.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 12: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2014 and December 31, 2014.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 13: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2015 and December 31, 2015.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 14: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2016 and December 31, 2016.




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                               PAGE 5
                                                                                  Exhibit 4-1
                                                                                 Page 5 of 9 Appendix 102
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        RESPONSE:


 REQUEST FOR ADMISSION NO. 15: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2017 and December 31, 2017.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 16: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2018 and December 31, 2018.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 17: Please admit that a default notice and/or notice of
 demand for payment was sent to you by Defendants and/or Defendants’ predecessors between
 January 1, 2019 and July 2, 2019.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 18: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between March 1, 2009 and December
 31, 2009.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 19: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2010 and
 December 31, 2010.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 20: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2011 and
 December 31, 2011.

        RESPONSE:




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                  PAGE 6
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                                                                                    Page 6 of 9 Appendix 103
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 REQUEST FOR ADMISSION NO. 21: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2012 and
 December 31, 2012.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 22: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2013 and
 December 31, 2013.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 23: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2014 and
 December 31, 2014.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 24: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2015 and
 December 31, 2015.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 25: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2016 and
 December 31, 2016.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 26: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2017 and
 December 31, 2017.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 27: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2018 and
 December 31, 2018.




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                            PAGE 7
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        RESPONSE:


 REQUEST FOR ADMISSION NO. 28: Please admit that a mortgage account statement was
 sent to you by Defendants and/or Defendants’ predecessors between January 1, 2019 and July 2,
 2019.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 29: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between March 1, 2009 and December
 31, 2009.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 30: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2010 and December
 31, 2010.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 31: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2011 and December
 31, 2011.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 32: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2012 and December
 31, 2012.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 33: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2013 and December
 31, 2013.

        RESPONSE:




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                   PAGE 8
                                                                                      Exhibit 4-1
                                                                                     Page 8 of 9 Appendix 105
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 REQUEST FOR ADMISSION NO. 34: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2014 and December
 31, 2014.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 35: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2015 and December
 31, 2015.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 36: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2016 and December
 31, 2016.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 37: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2017 and December
 31, 2017.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 38: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2018 and December
 31, 2018.

        RESPONSE:


 REQUEST FOR ADMISSION NO. 39: Please admit that you made a monthly mortgage
 payment to Defendants and/or Defendants’ predecessors between January 1, 2019 and July 2,
 2019.

        RESPONSE:




 DEFENDANTS’ FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF                                 PAGE 9
                                                                                    Exhibit 4-1
                                                                                   Page 9 of 9 Appendix 106
